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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS

HEALTH REPUBLIC INSURANCE
COMPANY,

                                                         No. 1:16-cv-00259-MMS
                Plaintiff,
                on behalf of itself and all others       (Judge Sweeney)
                similarly situated,

        vs.

THE UNITED STATES OF AMERICA,

                Defendant.


                                       JOINT STATUS REPORT

        Pursuant to the Court’s July 23, 2020 order (Dkt. 82), the Arches Subclass and the United

States submit this joint status report. The Arches Subclass and the United States have agreed in

principle to a resolution of the Arches Subclass’s risk corridors claim and the government’s

asserted offsets. The Parties continue to work to finalize language of an agreed stipulation to

judgment. Once the parties finalize the agreed stipulation, Arches, which is in liquidation, will

submit the agreed stipulation to the court overseeing its liquidation for approval. The Parties

request that the Court enter an order requiring the Parties to submit either a stipulation to judgment

or a joint status report in 28 days.




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DATED: August 21, 2020                        Respectfully submitted,

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